                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE




  AMELIA DAVIS LESTER,
                         Plaintiff,
                 vs.                                      No. 3:12-cv-299
  ALLSTATE PROPERTY AND                                   (Campbell/Guyton)
  CASUALTY INSURANCE COMPANY,
                         Defendant.



                        JUDGMENT ON DECISION BY THE COURT

        This case came before the court on the motion for summary judgment by defendant

 Allstate Property & Casualty Insurance Company. The Honorable Tena Campbell, United States

 District Judge, having rendered a decision granting the defendant’s motion,

        IT IS ORDERED AND ADJUDGED that Allstate is entitled to, and is hereby awarded,

 a declaratory judgment stating that it has no obligation under Policy No. 000955706784 to pay

 Plaintiff Amelia Davis Lester’s claim of loss (Claim # 0237906235); that Ms. Lester take

 nothing; that this action is DISMISSED WITH PREJUDICE on the merits; and that the parties

 shall bear their own costs.

        SO ORDERED this 18th day of July, 2013.

                                                     ENTERED:


                                                     ___________________________
                                                     United States District Court Judge




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